                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

 KIMBERLY K. BULL,                             )
                                               )
                Plaintiff,                     )
                                               )
 v.                                            )      No.: 1:08-CV-289
                                               )
 GROUP LONG TERM DISABILITY                    )
 PLAN FOR TFE, INC.,                           )
                                               )      COLLIER/CARTER
 TFE, INC.,                                    )
                                               )
 and                                           )
                                               )
 UNUM LIFE INSURANCE COMPANY                   )
 OF AMERICA,                                   )
                                               )
                Defendants.                    )


                                  NOTICE OF SETTLEMENT


        Defendant Unum Life Insurance Company of America (“Unum”) hereby notifies the

 Court that all claims pending in this action as to all parties have been compromised and settled

 without admission of liability and the parties intend to file a Stipulation of Dismissal pursuant to

 Rule 41 of the Federal Rules of Civil Procedure.

        Respectfully submitted this 18th day of May, 2009.

                                               MILLER & MARTIN PLLC

                                               s/James T. Williams
                                               B.P.R. # 16341
                                               s/Stephanie R. Barnes
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on May 18, 2009, a copy of the foregoing pleading was filed
 electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
 system to all parties indicated on the electronic filing receipt. All other parties will be served by
 regular U.S. mail. Parties may access this filing through the Court’s electronic filing system.


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